           Case 1:14-cr-00228-LJO-SKO Document 108 Filed 12/03/14 Page 1 of 3


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 GRANT B. RABENN
   PATRICK R. DELAHUNTY
 3 Assistant United States Attorney
   2500 Tulare Street, Suite 4401
 4 Fresno, CA 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                            CASE NO. 1:14-CR-00228-LJO-SKO
12
                                   Plaintiff,             STIPULATION AND ORDER BETWEEN THE
13                                                        UNITED STATES AND DEFENDANT BREE ANN
                            v.                            BENSON
14
     BREE ANN BENSON,
15
                                   Defendant.
16

17                                                STIPULATION

18          WHEREAS, the discovery in this case is voluminous and contains personal information

19 including but not limited to Social Security numbers, dates of birth, financial account numbers,

20 telephone numbers, residential addresses, and information regarding confidential informants (“Protected

21 Information”); and

22          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

23 unauthorized disclosure or dissemination of Protected Information to anyone not a party to the court

24 proceedings in this matter;

25          The parties agree that entry of a stipulated protective order is appropriate.

26          THEREFORE, defendant, BREE ANN BENSON, by and through his counsel of record Beverly

27 R. McCallum (“Defense Counsel”), and plaintiff, the United States of America, by and through its

28 counsel of record, hereby agree and stipulate as follows:

      STIPULATION AND [PROPOSED]                          1
      ORDER
30
           Case 1:14-cr-00228-LJO-SKO Document 108 Filed 12/03/14 Page 2 of 3


 1          1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 2 Criminal Procedure, and its general supervisory authority.

 3          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 4 part of the discovery in this case (hereafter, collectively known as the “discovery”).

 5          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 6 documents that contain Protected Information with anyone other than Defense Counsel and designated

 7 defense investigators and support staff. Defense Counsel may permit the defendant to view un-redacted

 8 documents in the presence of Defense Counsel or under the supervision of Defense Counsel. The parties

 9 agree that Defense Counsel, defense investigators, and support staff shall not allow the defendant to

10 copy Protected Information contained in the discovery. The parties agree that Defense Counsel, defense

11 investigators, and support staff may provide the defendant with copies of documents from which

12 Protected Information has been redacted.

13          4.      The discovery and information therein may be used only in connection with the litigation

14 of this case and for no other purpose. The discovery is now and will forever remain the property of the

15 United States Government. Defense Counsel will return the discovery to the Government or certify that

16 it has been destroyed at the conclusion of the case. This paragraph does not include originals or copies

17 of documents, such as bank records, that were already in the defendant’s possession or control prior to

18 the initiation of the above-captioned case.

19          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

20 ensure that it is not disclosed to third persons in violation of this agreement.

21          6.      Defense Counsel shall be responsible for advising the defendants, employees, other

22 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

23 ///

24 ///

25 ///

26 ///

27 ///

28 ///

      STIPULATION AND [PROPOSED]                          2
      ORDER
30
          Case 1:14-cr-00228-LJO-SKO Document 108 Filed 12/03/14 Page 3 of 3


 1          7.     In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees

 2 to withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

 3 this Order or the Court modifies this Order regarding such transfer of discovery.

 4

 5          IT IS SO STIPULATED.

 6 Dated: December 2, 2014                                  BENJAMIN B. WAGNER
                                                            United States Attorney
 7

 8                                                          /s/ Grant B. Rabenn
                                                            GRANT B. RABENN
 9                                                          Assistant United States Attorney

10 Dated: December 2, 2014                                  /s/ Beverly R. McCallum
                                                            BEVERLY R. McCALLUM
11                                                          Counsel for Defendant Bree Ann Benson

12

13

14

15

16                                                  ORDER

17

18

19 IT IS SO ORDERED.

20      Dated:    December 3, 2014                           /s/ Lawrence J. O’Neill
                                                     UNITED STATES DISTRICT JUDGE
21

22

23

24

25

26

27

28

      STIPULATION AND [PROPOSED]                        3
      ORDER
30
